Case 1:18-cv-23190-DPG Document 92 Entered on FLSD Docket 09/16/2019 Page 1 of 3


                                                         UN ITED STATES DISTRICT COURT
                                                         SOITIM ERN D ISRX ICT OF FLOD A

                                                        CA SE NO.:1:18< v.23190-DPG
   TD/OTHE DOLCPX ,
                                                                                   FILED BY                     D.C.
           Plaintië s),
   VS.                                                                                   SEF 16 2:15
                                                                                          ANGELA E.NOBLE
                                                                                         cLERK t).S.DlsT. c'
                                                                                         s                 r2
   VY LAGE OF BISCAYN E PARK ;                                                            .n.OFFLA.-MI  AMI
   am unicipalofthe StateofFlorida,
   CIW F             O ATESIANO ,
   OFFICER CH ARIV DAYOUB,
   OFFICER RAIJL FERNANDEZ,
   OFFICER M VELO,Individually
   and intheiroflkialcapacity,

           Defendantts).


                               M EDIATION DISPO SITION REPO RT


         A M ediation conference was conducted on September 11, 2019. The conference resulted in the
  folloyving:

         The following attorneys,parties,corporate representatives, and/or claim sprofessionals attended
         and p icipated in them ediation conference:

                 A11Plaintiffsand theirrespectivetrialcounsel.
                 A11Defendnntsand/ortheirfully authorized claimsrepresentative, and theirrespectivetrial
                 counsel.

         'l'he following individuals,parties,com orate representatives and/orclaimsprofessionalsfailed to
         appearand/orparticipate asordered:




                AGREEM EN I'.
                A partial/finalagreem entwasreduced to writing and signed by the participating parties.
                Counselforthepartiesshallreportthepartial/fmalar eementto the Courq and/orlile the
                appropriate stipulation forD ismissal.

                NO AGREEM ENT.
                n epartiesdid notreach an agreement.

                n eseproceedingshavebeenadjoumedandthemediationhearingshallberesllmedon
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  to:W illlam Robinson,Esquire,robinsonwillinm8@ m ail.coms
                                                          'wcrpleadings@ pnailcom ; E.
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  Esquire,oem@marreroleaal.com;dinah@ marrerolegal.com;Guertty@ marrerolegalcom ; W
                                                                               .       .
  H am pton Johnson,Esquire,   whiohnsono iamba.com;vounM@ iambM.com;
  blancao iam bg.com ;StephanieDeutsch,Esquire, sdeutsch@ scdlaw.net;twolosh@ scdlaw.
                                                                                    net.




                                         Respectfully subm itted,r
                                                      .

                                                          2
                                         Bob Zwicky,M ediator
                                         M ediator# 15884R
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                                         Plantation,FL 33324
                                         Phone:954-423-8856 Fax:954-334-2838
                                         bzwicky@uww-adncom
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